                        Case 14-34613 Document 101 Filed in TXSB on 10/09/18 Page 1 of 9
 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

 Debtor 1              $SULO'DQLHOOH&REE
                       ___B_______B_____BB_________BBBBB___________________________BBBBBBBB_


 Debtor 2              _______BB____________BBBBB_______________BBBBBBBBBBBBBBBBBB_BBBBBBBB_
 (Spouse, if filing)

                                         6RXWKHUQ'LVWULFWRI7H[DV+RXVWRQ
 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH: BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       
 &DVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBB



2IILFLDO)RUP 410S1
1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                                                                                  

,IWKHGHEWRU¶VSODQSURYLGHVIRUSD\PHQWRISRVWSHWLWLRQFRQWUDFWXDOLQVWDOOPHQWVRQ\RXUFODLPVHFXUHGE\DVHFXULW\LQWHUHVWLQWKH
GHEWRU¶VSULQFLSDOUHVLGHQFH\RXPXVWXVHWKLVIRUPWRJLYHQRWLFHRIDQ\FKDQJHVLQWKHLQVWDOOPHQWSD\PHQWDPRXQW)LOHWKLVIRUP
DVDVXSSOHPHQWWR\RXUSURRIRIFODLPDWOHDVWGD\VEHIRUHWKHQHZSD\PHQWDPRXQWLVGXHSee Bankruptcy Rule 3002.1.
1DPHRIFUHGLWRU                                                                                                         
                                                                                              &RXUWFODLPQRLINQRZQBBBBBBBBBBBBBBBBBBBBBBB
-30RUJDQ&KDVH%DQN1DWLRQDO$VVRFLDWLRQ




                                                                                              'DWHRISD\PHQWFKDQJH
                                                                                              Must be at least 21 days after date
                                                                                              of this notice                            
                                                                                                                                        _____________


                                                                                              1HZWRWDOSD\PHQW
                                                                                                                                         
                                                                                                                                        $____________BBBB
                                                                                              Principal, interest, and escrow, if any
/DVWGLJLWVof any number you use to
LGHQWLI\WKHGHEWRU¶VDFFRXQW                                  ____
                                                               ____  ____
                                                                        ____
                                                                           

 3DUW        (VFURZ$FFRXQW3D\PHQW$GMXVWPHQW

   :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VHVFURZDFFRXQWSD\PHQW"

         No
      ✔
         <HV$WWDFKDFRS\RIWKHHVFURZDFFRXQWVWDWHPHQWSUHSDUHGLQDIRUPFRQVLVWHQWZLWKDSSOLFDEOHQRQEDQNUXSWF\ODZ'HVFULEHWKHEDVLV
          IRUWKHFKDQJH,IDVWDWHPHQWLVQRWDWWDFKHGH[SODLQZK\



                                                                                                                        
          &XUUHQWHVFURZSD\PHQWBBBBBBBBBBBBBBBBB                                                   1HZHVFURZSD\PHQWBBBBBBBBBBBBBBBBB

3DUW0RUWJDJH3D\PHQW$GMXVWPHQW

   :LOOWKHGHEWRU¶VSULQFLSDODQGLQWHUHVWSD\PHQWFKDQJHEDVHGRQDQDGMXVWPHQWWRWKHLQWHUHVWUDWHRQWKHGHEWRU
V
      YDULDEOHUDWHDFFRXQW"
      ✔
         No
         Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
          DWWDFKHGH[SODLQZK\



          &XUUHQWLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB                                      1HZLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB

          &XUUHQWSULQFLSDODQGLQWHUHVWSD\PHQW $ ______________BBB_                   1HZSULQFLSDODQGLQWHUHVWSD\PHQW $ ___________BBB____

 3DUW2WKHU3D\PHQW&KDQJH


     :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VPRUWJDJHSD\PHQWIRUDUHDVRQQRWOLVWHGDERYH"
        ✔
            No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
             (Court approval may be required before the payment change can take effect.)
          5HDVRQIRUFKDQJH



                 &XUUHQWPRUWJDJHSD\PHQWBBBBBBBBBBBBBBBBB                               1HZPRUWJDJHSD\PHQWBBBBBBBBBBBBBBBBB
                                                                                              
Official Form 410S1                                                1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                              page 1
                     $SULO'DQLHOOH&REE                                                                        
      Debtor 1       Case
                     First Name 14-34613
                                    Middle Name Document        101 Filed in TXSB on
                     _____BB_________________________________________________
                                                          Last Name                   10/09/18
                                                                                        Case                   Page      2 of 9
                                                                                             number (LINQRZQ) ______________________



 3DUW 6LJQ+HUH


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 &KHFNWKHDSSURSULDWHER[

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHLQIRUPDWLRQSURYLGHGLQWKLVFODLPLVWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJH
 LQIRUPDWLRQDQGUHDVRQDEOHEHOLHI




 8    /s/Elisabeth Botero
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Signature
                                                                                    10/05/2018
                                                                            'DWHBBBBBBBBBBBBBBB




        Elisabeth Botero
 Print:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                 Vice President
                                                                                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        First Name            Middle Name        Last Name              7LWOH


 Company JPMorgan Chase Bank, N.A.
         _B____________________BB____________________________________

 Address    Chase Records Center Attn: Correspondence Mail
            ___________________________B_________BB______BB______________
            Number                   Street

            700 Kansas Lane, Mail Code LA4-5555
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Monroe                                  LA      71203
            BBBB_______________________________________________BBBBBBBB__
              City                                          State      ZIPCode



                     866-243-5851                                                     PCN_Escalations@restricted.chase.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                     (PDLO




Official Form 410S1                                          1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                          page 
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                       UNITED STATES BANKRUPTCY COURT
                                            Southern District of Texas (Houston)

                                                  Chapter 13 No. 14-34613
                                                  Judge: David R Jones

In re:
 April Danielle Cobb
                                         Debtors

                                         CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before October 10, 2018 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S.
Postal Service First Class Main Postage Prepaid


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid
                                   April Danielle Cobb
                                   6807 Waterlilly View Ln.

                                   Richmond TX 77469


                                   By U.S. Postal Service First Class Mail Postage Prepaid
                                   N/A




Debtor’s Attorney:                 By U.S. Postal Service First Class Mail Postage Prepaid
                                   Crosland Seth
                                   Crosland Law Firm, PLLC
                                   1848 NORWOOD PLAZA
                                   SUITE 205B
                                   HURST TX 76054

                                   By U.S. Postal Service First Class Mail Postage Prepaid
                                   N/A




Trustee:                           By U.S. Postal Service First Class Mail Postage Prepaid
                                   William E. Heitkamp
                                   Office of Chapter 13 Trustee
                                   9821 Katy Freeway
                                   Ste 590
                                   Houston TX 77024



                                                        /s/Elisabeth Botero
                                                        @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                         Vice President
                                                         JPMorgan Chase Bank, N.A.
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